    Case 18-10710         Doc 14     Filed 05/04/18 Entered 05/06/18 23:19:17                Desc Imaged
                                     Certificate of Notice Page 1 of 3
Form ntcdsm

                                  UNITED STATES BANKRUPTCY COURT
                                        Northern District of Illinois
                                             Eastern Division
                                             219 S Dearborn
                                                7th Floor
                                            Chicago, IL 60604


                                               Case No.: 18−10710
                                                   Chapter: 7
                                            Judge: Deborah L. Thorne

In Re:
   Victor Manuel Santiago Jr.
   1351 N Greenview Avenue, Unit 2F
   Chicago, IL 60642
Social Security / Individual Taxpayer ID No.:
   xxx−xx−7295
Employer Tax ID / Other nos.:


                                            NOTICE OF DISMISSAL



You are hereby notified that an Order Dismissing the above case was entered on May 3, 2018




                                                         FOR THE COURT


Dated: May 4, 2018                                       Jeffrey P. Allsteadt , Clerk
                                                         United States Bankruptcy Court
        Case 18-10710        Doc 14    Filed 05/04/18 Entered 05/06/18 23:19:17             Desc Imaged
                                       Certificate of Notice Page 2 of 3
                                      United States Bankruptcy Court
                                      Northern District of Illinois
In re:                                                                                  Case No. 18-10710-DLT
Victor Manuel Santiago, Jr.                                                             Chapter 7
         Debtor
                                        CERTIFICATE OF NOTICE
District/off: 0752-1           User: pseamann               Page 1 of 2                   Date Rcvd: May 04, 2018
                               Form ID: ntcdsm              Total Noticed: 42


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
May 06, 2018.
db             +Victor Manuel Santiago, Jr.,    1351 N Greenview Avenue, Unit 2F,      Chicago, IL 60642-7373
26642162       +Allied Interstate LLC,    PO BOX 361445,    Columbus, OH 43236-1445
26642165       +Bay Area Credit Services,    PO BOX 467600,    Atlanta, GA 31146-7600
26642168       +CAPITAL ONE AUTO FINANCE,    PO BOX 259407,    Plano, TX 75025-9407
26642171       +Central Credit Services LLC,    500 North Franklin Turnpike, Suite,      Ramsey, NJ 07446-1177
26642175       +City of Chicago,   Department of Finance-Utility,      PO Box 6330,    Chicago, IL 60680-6330
26642174       +City of Chicago,   Department of Finance,     PO Box 71429,    Chicago, IL 60694-1429
26642183       +Florida Department of Education,    325 W. Gaines Street,     Tallahassee, FL 32399-0400
26642185        LVNV Funding LLC,   200 Meeting Street,     Suite 206,    Charleston, SC 29401-3187
26642187        Mandarich Law Group, LLP,    9200 Oakdale Avenue, Suite 601,     Ancona, IL 61311
26642201       +Northstar Location Services, LLC,    4285 Genesee Street,     Buffalo, NY 14225-1943
26642203       +Phillips & Cohen Associates, Ltd.,    1002 Justison Street,     Wilmington, DE 19801-5148
26642204       +Phoenix Financial Services,    8902 Otis Avenue,    Suite 103A,     Indianapolis, IN 46216-1009
26642213       +Van Ru Credit Corporation,    4839 N Elston,    Chicago, IL 60630-2534

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
tr             +EDI: QRSALSTERDA.COM May 05 2018 04:58:00       Trustee R Scott Alsterda,      Nixon Peabody LLP,
                 70 West Madison Street,    Suite 3500,    Chicago, IL 60602-4224
26642163       +EDI: URSI.COM May 05 2018 04:58:00       Alltran Financial LP,     PO Box 722910,
                 Houston, TX 77272-2910
26642164       +EDI: TSYS2.COM May 05 2018 04:58:00       Barclays Bank Delaware,     125 South West Street,
                 Wilmington, DE 19801-5014
26642166       +E-mail/Text: bk@blittandgaines.com May 05 2018 01:05:43        Blitt & Gaines,     661 Glenn Avnue,
                 Wheeling, IL 60090-6017
26642167       +EDI: RESURGENT.COM May 05 2018 04:58:00       CACH, LLC,    4340 S. Monaco St. Unit 2,
                 Denver, CO 80237-3485
26657528       +EDI: AISACG.COM May 05 2018 04:58:00       Capital One Auto Finance, a division of Capital On,
                 AIS Portfolio Services, LP,    4515 N Santa Fe Ave. Dept. APS,      Oklahoma City, OK 73118-7901
26642169       +EDI: CAPITALONE.COM May 05 2018 04:58:00       Capital One Bank USA NA,     PO Box 30281,
                 Salt Lake City, UT 84130-0281
26642172       +EDI: CHASE.COM May 05 2018 04:58:00       Chase Bank,    PO Box 15298,    Wilmington, DE 19850-5298
26642173       +EDI: CHASE.COM May 05 2018 04:58:00       Chase Card,    PO BOX 15298,    Wilmington, DE 19850-5298
26642176       +E-mail/Text: kzoepfel@credit-control.com May 05 2018 01:06:06         Credit Control LLC,
                 5757 Phantom Drive,    Suite 330,   Hazelwood, MO 63042-2429
26642177       +EDI: RCSFNBMARIN.COM May 05 2018 04:58:00       Credit One Bank,     PO Box 98873,
                 Las Vegas, NV 89193-8873
26642179        EDI: DISCOVER.COM May 05 2018 04:58:00       Discover Financial Services,      PO Box 15316,
                 Wilmington, DE 19850
26642180        EDI: DCI.COM May 05 2018 04:58:00       Diversified Consultants, Inc.,     P.O. Box 551268,
                 Jacksonville, FL 32255-1268
26642181       +E-mail/Text: bknotice@ercbpo.com May 05 2018 01:06:13        ERC,    8014 Bayberry Road,
                 Jacksonville, FL 32256-7412
26642182       +EDI: AMINFOFP.COM May 05 2018 04:58:00       First Premier Bank,     601 South Minnesota Avenue,
                 Sioux Falls, SD 57104-4868
26642184        EDI: IRS.COM May 05 2018 04:58:00       Internal Revenue Service,     Department of the Treasury,
                 Cincinnati, OH 45999-0010
26642188       +EDI: MERRICKBANK.COM May 05 2018 04:58:00       Merrick Bank,     PO Box 1500,
                 Draper, UT 84020-1500
26642189        EDI: MID8.COM May 05 2018 04:58:00       Midland Credit Management Inc.,
                 8875 Aero Drive Suite 200,    San Diego, CA 92123-2255
26642191       +EDI: MID8.COM May 05 2018 04:58:00       Midland Funding LLC,     8875 Aero Drive,    Suite 200,
                 San Diego, CA 92123-2255
26642193       +E-mail/Text: electronicbkydocs@nelnet.net May 05 2018 01:06:07         Nelnet Student Loans,
                 6420 SOUTHPOINT PKWY,    Jacksonville, FL 32216-0946
26642205        EDI: PRA.COM May 05 2018 04:58:00       Portfolio Recovery Associates, LLC,
                 Riverside Commerce Center,    120 Corporate Blvd Ste. 100,     Norfolk, VA 23502
26642202       +E-mail/Text: dee@pendrickcp.com May 05 2018 01:06:32        Pendrick Capital Partners LLC,
                 1714 Hollinwood Dr,    Alexandria, VA 22307-1926
26642207       +E-mail/Text: bankruptcy@prosper.com May 05 2018 01:06:41        Prosper Marketplace,
                 101 2ND ST FL 15,    San Francisco, CA 94105-3672
26642208       +E-mail/Text: bk@rgsfinancial.com May 05 2018 01:05:31        RGS Collections, Inc.,
                 PO BOX 852039,    Richardson, TX 75085-2039
26642209       +EDI: RMSC.COM May 05 2018 04:58:00       SYNCB/KANES FURNITURE,     C/O P O BOX 965036,
                 Orlando, FL 32896-0001
26642210       +EDI: RMSC.COM May 05 2018 04:58:00       SYNCB/PAYPAL Smart CONN,     PO BOX 965005,
                 Orlando, FL 32896-5005
26642212       +EDI: RMSC.COM May 05 2018 04:58:00       SYNCB/Walmart,    PO BOX 965036,    Orlando, FL 32896-5036
26645358       +EDI: RMSC.COM May 05 2018 04:58:00       Synchrony Bank,    c/o PRA Receivables Management, LLC,
                 PO Box 41021,   Norfolk, VA 23541-1021
                                                                                                 TOTAL: 28
          Case 18-10710            Doc 14       Filed 05/04/18 Entered 05/06/18 23:19:17                         Desc Imaged
                                                Certificate of Notice Page 3 of 3


District/off: 0752-1                  User: pseamann                     Page 2 of 2                          Date Rcvd: May 04, 2018
                                      Form ID: ntcdsm                    Total Noticed: 42


             ***** BYPASSED RECIPIENTS (continued) *****

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
26642211          SYNCB/TJX COS DC
26642170*        +Capital One Bank USA NA,    PO Box 30281,   Salt Lake City, UT 84130-0281
26642178*        +Credit One Bank,   PO Box 98873,    Las Vegas, NV 89193-8873
26642186*         LVNV Funding LLC,    200 Meeting Street,   Suite 206,   Charleston, SC 29401-3187
26642190*         Midland Credit Management Inc.,    8875 Aero Drive Suite 200,   San Diego, CA 92123-2255
26642192*        +Midland Funding LLC,    8875 Aero Drive,   Suite 200,   San Diego, CA 92123-2255
26642194*        +Nelnet Student Loans,    6420 SOUTHPOINT PKWY,   Jacksonville, FL 32216-0946
26642195*        +Nelnet Student Loans,    6420 SOUTHPOINT PKWY,   Jacksonville, FL 32216-0946
26642196*        +Nelnet Student Loans,    6420 SOUTHPOINT PKWY,   Jacksonville, FL 32216-0946
26642197*        +Nelnet Student Loans,    6420 SOUTHPOINT PKWY,   Jacksonville, FL 32216-0946
26642198*        +Nelnet Student Loans,    6420 SOUTHPOINT PKWY,   Jacksonville, FL 32216-0946
26642199*        +Nelnet Student Loans,    6420 SOUTHPOINT PKWY,   Jacksonville, FL 32216-0946
26642200*        +Nelnet Student Loans,    6420 SOUTHPOINT PKWY,   Jacksonville, FL 32216-0946
26642206*       ++PORTFOLIO RECOVERY ASSOCIATES LLC,    PO BOX 41067,   NORFOLK VA 23541-1067
                 (address filed with court: Portfolio Recovery Associates, LLC,     Riverside Commerce Center,
                   120 Corporate Blvd Ste. 100,    Norfolk, VA 23502)
                                                                                               TOTALS: 1, * 13, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: May 06, 2018                                             Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on May 3, 2018 at the address(es) listed below:
              Celetha Chatman    on behalf of Debtor 1 Victor Manuel Santiago, Jr.
               cchatman@communitylawyersgroup.com,
               celetha--chatman--wood-finko-thompson-pc-0120@ecf.pacerpro.com
              Patrick S Layng   USTPRegion11.ES.ECF@usdoj.gov
              Trustee R Scott Alsterda   rsalsterda@nixonpeabody.com, ralsterda@ecf.epiqsystems.com
                                                                                            TOTAL: 3
